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                               UNITED STATES DISTRICT COURT
14                           SOUTHERN DISTRICT OF CALIFORNIA
15
     DISH NETWORK L.L.C., ECHOSTAR                   Case No. 13-CV-109-L (WVG)
16   TECHNOLOGIES L.L.C., and
     NAGRASTAR LLC,                                  JOINT MOTION TO STAY
17                                                   PROCEEDINGS
                             Plaintiffs,
18     v.
19
     DANIAL PIERCE and SINCHA PIERCE,
20   individually and as trustees of the Pierce
     Family Trust, and YONG SUK YI,
21
                             Defendants.
22

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25             Plaintiffs DISH Network L.L.C., EchoStar Technologies L.L.C., and
26   NagraStar LLC, and Defendants Danial Pierce, Sincha Pierce, and Yong Suk Yi,
27   hereby move to stay all further proceedings in this case until January 10, 2014, so
28   they can focus their efforts at completing a settlement.
     Joint Motion for Stay                                           Case No. 13-CV-109-L (WVG)
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 1             In support of this joint motion for stay, the parties state the following:
 2             1.        This Court entered a judgment in favor of DISH Network on May 31,
 3   2012 in DISH Network L.L.C. v. Sonicview USA, Inc., No. 09-CV-1553 L (WVG).
 4   (Dkt. 181). The Court awarded damages of $64,980,200 against Danial Pierce and
 5   his co-defendants. (Id.) Danial Pierce and his co-defendants noticed an appeal on
 6   November 9, 2012, which is pending before the Ninth Circuit. (Dkt. 278).
 7             2.        DISH Network has been enforcing the judgment against Danial Pierce.
 8   Among other things, DISH Network filed this case on January 15, 2013 to set aside
 9   a transfer of property made by Danial Pierce. The Court, however, dismissed DISH
10   Network’s complaint, sua sponte, on March 27, 2013 for lack of subject matter
11   jurisdiction. (Dkt. 14.)
12             3.        DISH Network moved the Court to reconsider its order of dismissal.
13   (Dkt. 15.) The Court terminated DISH Network’s motion for reconsideration on
14   May 1, 2013 because Danial Pierce and Sincha Pierce filed bankruptcy. (Dkt. 20.)
15   The Pierces’ bankruptcy was dismissed, and on September 10, 2013 DISH Network
16   filed a notice with this Court asking that its motion for reconsideration be placed
17   back on calendar. (Dkt. 21.) DISH Network’s motion has not been set for hearing.
18             4.        The parties have been engaged in ongoing settlement discussions with
19   the assistance of a mediator appointed by the Ninth Circuit. The parties expect to
20   complete a settlement in early January 2014. The parties will notify the Court, on
21   or before January 10, 2014, as to whether a settlement has been concluded. In the
22   event of a final settlement, the notice will be provided to the Court in the form of a
23   stipulation to voluntarily dismiss this action with prejudice.
24             5.        In the interim, the parties respectfully request that the Court stay all
25   further proceedings in this case, including the motion for reconsideration identified
26   in paragraph 3. A temporary stay will enable the parties to focus on completing the
27   settlement, and at the same time spare the Court from having to rule on matters that
28   will be rendered moot if the dispute between the parties is fully resolved.
     Joint Motion for Stay                             2                      Case No. 13-CV-109-L (WVG)
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 1             A proposed order has been submitted.
 2

 3   Dated: November 15, 2013
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     Joint Motion for Stay                     3                     Case No. 13-CV-109-L (WVG)
